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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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 19   DENNIS RUTHERFORD, et al.,     )           Case No. CV75-04111 DDP
                                     )
 20             Plaintiffs,          )           Honorable Dean D. Pregerson
                                     )
 21             vs.                  )           [PROPOSED] PROTECTIVE ORDER
                                     )
 22   LEROY BACA, et al.,            )
                                     )             Hearing Date:   November 8, 2010
 23             Defendants.          )             Time:           10:00 a.m.
      ______________________________ )             Courtroom:      3
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  1         This Court heard Plaintiffs’ Motion for a Protective Order in the above-
  2   referenced action on November 8, 2010, at 10:00 A.M..
  3         Having considered the papers filed in support of and opposition to Plaintiffs’
  4   motion, the arguments of counsel, and the complaint, and for good cause shown,
  5         IT IS HEREBY ORDERED that Plaintiffs’ request for a protective order is
  6   GRANTED.
  7         IT IS FURTHER ORDERED that Defendants and their officers, agents,
  8   employees, and all those in active concert or participation with them (collectively
  9   “Defendants”), are prohibited from retaliating against prisoners in Men’s Central
 10   Jail (MCJ) for communicating with the ACLU by any means, including but not
 11   limited to punishments, the denial of privileges, beatings, the planting of
 12   contraband, the destruction of prisoners’ personal property, searches, or other
 13   punishments or reprisals.
 14         IT IS FURTHER ORDERED THAT Defendants are prohibited from
 15   attempting to intimidate or deter prisoners in MCJ from communicating with the
 16   ACLU by any means, including but not limited to (a) punishments, denials of
 17   privileges or searches; (b) threatening class members, directly or by implication,
 18   with any punishment or penalty for communicating or attempting to communicate
 19   with the ACLU; (c) questioning class members about their communications with
 20   the ACLU; (d) disseminating to other prisoners the fact that a prisoner
 21   communicated or attempted to communicate with the ACLU; or (e) disseminating,
 22   for purposes of intimidation and/or without legitimate need, the fact that prisoners
 23   communicated or attempted to communicate with the ACLU, to staff persons or
 24   other officials at the Men’s Central Jail.
 25         IT IS FURTHER ORDERED THAT Defendants shall enforce their official
 26   policy by training any deputies assigned to MCJ in the anti-retaliation policy,
 27   thoroughly investigating claims of retaliation, and adopting a policy of zero
 28   tolerance for retaliation.

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  1         IT IS FURTHER ORDERED THAT Defendants shall post their official anti-
  2   retaliation policy in all housing areas and common areas in Men’s Central Jail and
  3   shall distribute the policy to all prisoners held in segregation in MCJ.
  4         IT IS FURTHER ORDERED THAT Defendants shall track in F.A.S.T. all
  5   complaints of retaliation in MCJ for communicating with the ACLU, including
  6   identifying the officer(s) who are the subject of such allegations, and documenting
  7   the extent and result of such investigations.
  8         IT IS FURTHER ORDERED THAT Defendants shall inform the ACLU of
  9   all complaints of retaliation in MCJ for communicating with the ACLU, and shall
 10   report the results and provide the materials regarding all investigations of any such
 11   complaints to the ACLU.
 12         IT IS FURTHER ORDERED THAT Defendants shall take all reasonable
 13   steps to protect prisoners who complain of retaliation in MCJ for communicating
 14   with the ACLU from future retaliation, including the opportunity for transfer, either
 15   within MCJ but to a new housing area, or to another facility in the Los Angeles
 16   County jails.
 17         IT IS FURTHER ORDERED THAT Defendants shall offer prisoners who
 18   complain of retaliation for speaking with the ACLU the opportunity to have an
 19   immediate medical exam, where the complained of retaliation took the form of
 20   physical abuse.
 21
 22   Dated: ________________                __________________________________
                                             The Honorable Dean D. Pregerson
 23                                          U.S. District Court Judge
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      Submitted By:
 26
      s/ Peter J. Eliasberg
 27   Peter J. Eliasberg
      Attorney for Plaintiffs
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